             I N T H E DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:12 CR 32-3


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                    ORDER
                                       )
BRANDON SHANE LOWDERMILK.              )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this court on August 8, 2012.

It appearing to the Court at the call of this matter on for hearing the defendant was

present with his attorney, Richard E. Cassady and the Government was present and

represented through Assistant United States Attorney Don Gast. From the arguments

of counsel for the defendant and the arguments of the Assistant United States Attorney

and the records in this cause, the Court makes the following findings:

      Findings.     On April 17, 2012 a bill of indictment was issued charging the

defendant with conspiracy to manufacture methamphetamine, in violation of 21

U.S.C. § 841(a)(1)and 846. On August 8, 2012, the undersigned held and inquiry,

pursuant to Rule 11 of the Federal Rules of Criminal Procedure and accepted a plea

of guilty of the defendant to that charge. At the end of the Rule 11 proceeding, this

Court presented the issue of whether or not the defendant should now be detained,

pursuant to 18 U.S.C. § 3143(a)(2).



    Case 1:12-cr-00032-MR-DLH         Document 79    Filed 08/09/12   Page 1 of 3
      Discussion.     18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

            (A)(i) the judicial officer finds there is a substantial likelihood that
      a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence that
             the person is not likely to flee or pose a danger to any other person
             or the community.

      From an examination of the records in this cause, it appears the defendant has

now entered a plea of guilty on August 8, 2012 to conspiracy to violate 21 U.S.C. §

841(a)(1). That crime is one of the crimes that is referenced under 18 U.S.C. §

3142(f)(1)(C).    The undersigned was not advised there was going to be a

recommendation that no sentence of imprisonment be imposed upon the defendant.

The undersigned cannot find there is a likelihood that a motion for acquittal or new

trial will be granted. It would thus appear, and the court is of the opinion that the

court is required to apply the factors as set forth under 18 U.S.C. § 3143(a)(2) which

require the detention of defendant.




                                          -2-



    Case 1:12-cr-00032-MR-DLH         Document 79      Filed 08/09/12    Page 2 of 3
                                       ORDER

      IT IS, THEREFORE, ORDERED, that the defendant be detained pending

further proceedings in this matter.



                                          Signed: August 9, 2012




                                         -3-
    Case 1:12-cr-00032-MR-DLH         Document 79    Filed 08/09/12   Page 3 of 3
